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The following constitutes the ruling of the court and has the force and effect therein described.


Signed November 13, 2019
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________



                             IN THE UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                         FT WORTH DIVISION
      IN RE:                                                '
                                                            '
      ROOFTOP GROUP USA, INC.                               ' CASE NO. 19-44234 -MXM-7
                                                            '
                              DEBTOR                        '

                      ORDER AUTHORIZING TRUSTEE TO SELL INVENTORY
                           OF DRONES FREE AND CLEAR OF LIENS

               On November 13, 2019 this Court heard the Chapter 7 trustee’s motion to sell property of
      the estate free and clear of liens with liens to attach to the proceeds. Based on the trustee’s
      testimony, the agreement of the secured creditors and absence of any objection, the Court finds
      that it is in the best interest of the estate to approve the trustee’s motion to sell property. It is,
      therefore, found and determined that:

               A.     Time is of the essence in the sale of the Property. Accordingly, the waiver of any
      stay of this Order is appropriate and in the best interests of the Estate.
               B.     Purchaser, Gordon Brothers Commercial & Industrial, LLC, which prevailed in its
      bid over the bid of Hilco Wholesale Solutions, is purchasing this inventory in good faith and is a
      good faith Purchasers within the meaning of Section 363(m) of the Bankruptcy Code and entitled
      to all of the protections afforded under Section 363(m) of the Bankruptcy Code.Some of the drones
      are marked with Star Wars logos and are subject to a license agreement with Disney Consumer
      Products, Inc., which Disney asserts was terminated on July 26, 2018 and Disney does not consent
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to the sale of any of this debtor’s products subject to Disney’s license agreement. Consequently,
the drones subject to a Disney license are not included in the trustee’s motion to sell and Disney
will move to recover the drones subject to it license.
       It is, therefore,

       ORDERED that the Trustee’s Motion To Sell Property of Estate Free and Clear of Liens
and Encumbrances is granted. The trustee is authorized to sell to Gordon Brothers, Inc., for
$275,000, all inventory of drones and related equipment, save and except anything subject to a
Disney license, located in warehouses owned by TriCon Logistics, LLC in Irving, Texas and
Seattle, Washington, and by Canwest Marine in Vancouver, Canada. Seventy-five percent
(75%) of the $275,000.00 Purchase Price, i.e. $206,250.00, shall be paid by wire transfer of
immediately available funds into an account designated by the Trustee, and the remaining
twenty-five percent (25%) of the Purchase Price, i.e. $68,750, shall be paid promptly by the
Purchaser upon the later of (i) the Sale Order becoming final and non-appealable; or (ii) the
Purchaser’s receipt of all Purchased Assets and the payment terms in the attached Asset Purchase
Agreement specifically. It is further

       ORDERED that the sale is free and clear of liens and encumbrances with any lien to attach
to the proceeds as provided in the Trustee’s Motion To Sell Property. The Trustee is authorized to
disburse to the secured creditors herein immediately after receipt of all sale proceeds the amounts
described in the sale motion that the secured creditors, Begaline Limited, TriCon Logistics, LLC,
and Canwest Marine Services, Inc., have agreed to accept as payments on their respective lien
claims as follows:
               Begaline        $80,556.58
               Tricon          $72,221.21
               Canwest         $30,555.55
Any unpaid portion of these lien claims is treated as unsecured claim in this estate. It is further
       ORDERED that the Trustee is authorized to sell whatever Intellectual Property the estate
owns connected to these drones and necessary for the marketing and sale of the drones subject to
this Order if the estate has any such IP although the trustee expressly disavows any knowledge
that the estate has any such IP and does not represent that any exists. It is further

       ORDERED that the balance of $91,666.66 will be retained by the estate unencumbered
by any lien claims.
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                                   # # # End of Order # # #



      SUBMITTED BY:

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      Attorneys for Chapter 7 Trustee
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                                                          Rooftop Group USA
                                                               Exhibit A
                                                           Drone Inventory

                                                                                                  Total
      Item #                             Description                            UPC / EA / CAS              DFW    SEA     VAN
                                                                                                 Quantity

      AT-2930                                                                                     2,544            2,544


      H5-2405      ATOM FPRMICRO DRONE                                                             278      278     0       0


                   AIR COMBAT - 2.4 GHZ MOTION CONTROLLED BATTLING
     HS-1933                                                              EA 849826019335          418      410     8       0
                   HELICOPTER TITANIUM/RED

                   AIR COMBAT - 2.4 GHZ MOTION CONTROLLED BATTLING
     HS-1936                                                              EA 849826019366          300      300     0       0
                   HELICOPTER BLUE/GOLD


     HS-1939                                                                                        1               1


     HS-1943       MEUTRON                                                                         930      930     0       0


     HS-1948                                                                                        4               4


     HS-1952                                                                                       58               58


      HS1953       AIR COMBAT                                                                      310      310     0       0


                   AIR COMBAT - 2.4 GHZ MOTION CONTROLLED BATTLING
     HS-1953                                                              EA 849826019533          171      171     0       0
                   HELICOPTER

                   ATOM 1.0 MICRO DRONE - INDOOR/OUTDOOR WIRELESS
     HS-1954                                                              EA 849826019540          216      216     0       0
                   QUADROCOPTER

                   SKY RAIDER - 2.4 GHZ INDOOR/OUTDOOR BATTLING
     HS-1956                                                                                       333      333     0       0
                   QUADROCOPTER

                   SKY RAIDER - 2.4 GHZ INDOOR/OUTDOOR BATTLING
     HS-1957                                                              EA 849826019571          41       40      1       0
                   QUADROCOPTER

                   SKY RAIDER - 2.4 GHZ INDOOR/OUTDOOR BATTLING
     HS-1958                                                              EA 849826019588          399      368     31      0
                   QUADROCOPTER


     HS-2400                                                                                       70               70


                   ATOM FPV MICRO DRONE - INDOOR/OUTDOOR WIRELESS
     HS-2405                                                              EA 849826024056          368      368     0       0
                   QUADROCOPTER


     HS-2406                                                                                        5               5


                   SKY MASTER + FPV - 2.4 GHZ BLUE QUADROCOPTER W/ LIVE
     HS-2409                                                            EA 849826024094            34       34      0       0
                   VIDEO STREAMING


     HS-2412       ORBIT HD BLACK - 2.4 GHZ QUADROCOPTER W/ HD CAMERA EA 849826024124              264      249     15      0


     HS-2413       ORBIT HD GREEN - 2.4 GHZ QUADROCOPTER W/ HD CAMERA EA 849826024131              187      187     0       0


     HS-2414       ORBIT HD, 508936404                                    EA 849826024148          291      290     1       0


     HS-2416       ORBIT HD RED - 2.4 GHZ QUADROCOPTER W/ HD CAMERA       EA 849826024162          518      486     32      0


     HS-2418       ORBIT HD - 2.4 GHZ QUADROPCOPTER W/ HD CAMERA          EA 849826024186          45       45      0       0


     HS-2421                                                                                       35               35




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                                                                Rooftop Group USA
                                                                     Exhibit A
                                                                 Drone Inventory

                                                                                                      Total
      Item #                                 Description                            UPC / EA / CAS              DFW       SEA      VAN
                                                                                                     Quantity

                   PROTON MICRO DRONE - INDOOR/OUTDOOR WIRELESS
     HS-2422                                                                  EA 849826024223          397       378       19       0
                   QUADROCOPTER


     HS-2423                                                                                           180                 180


     HS-2424                                                                                           25                  25


     HS-2425       PROTON MICRO DRONE                                                                  452       452        0       0


     HS-2432       SKY FORCE                                                                           170       170        0       0


     HS-2433       SKY FORCE                                                                           878       878        0       0


     HS-2436       XS T WIFI                                                                           24        24         0       0


     HS-2438       PROPEL GROVITIONAND WIFI                                                            196       196        0       0


     HS-2443       GRAVITON+WIFI                                                                       275       275        0       0


     HS-2445       ZIPPO NANA X2                                                                       505       505        0       0


     HS-2447       ZIPP NANO X2                                                                        297       297        0       0


    HS-2448-B      ZIPP NANO X2 BLACK                                                                  200       200        0       0


    HS-2448-R      ZIPP NANO X2 RED                                           EA 849826024483          560       560        0       0


     HS-2450       ZIPP NANO                                                                           388       388        0       0


     HS-2452       AIR COMBAT                                                                          145       145        0       0


       MISC        Spare Parts, Blades, Batteries, etc                                                69,439              69,439


     NV-3810                                                                                           44                  44


     NV-3820       NAVIGATOR PACE MICRO DRONE                                 EA 849826038206         7,403       0       7,403     0


                                                                              EA 849826021017
     OD-2101       ATOM MICRO DRONE RED                                                                 0         0         0       0
                                                                              CAS 50849826021012

                   PROPEL SKY FORCE 2 PACK BATTLING DRONES                    EA 849826021086
     OD-2108                                                                                            0         0         0       0
                   ASSORTMENT                                                 CAS 50849826021081

                                                                              EA 849826021116
     OD-2111       NEUTRON BLUE                                                                        91         0        91       0
                                                                              CAS 50849826021111

                                                                              EA 849826021130
     OD-2113       SKYRIDER BLUE + EXTRA BATTERY                                                      1,121       0       1,121     0
                                                                              CAS 50849826021135

                                                                              EA 849826021147
     OD-2114       SKYRIDER RED + EXTRA BATTERY                                                       2,034       0       2,034     0
                                                                              CAS 50849826021142


       PENS        Candidate Pens - Donald Trump and Hillary Clinton                                  34,147    34,147      0




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                                                                    Rooftop Group USA
                                                                         Exhibit A
                                                                     Drone Inventory

                                                                                                              Total
      Item #                                  Description                                   UPC / EA / CAS              DFW      SEA     VAN
                                                                                                             Quantity

      PL-1110                                                                                                  721                721


      PL-1111                                                                                                  176                176


      PL-1112                                                                                                  16                 16


                   PL-1351/1352/1354/1355 PROPEL PROTON MICRO DRONE
      PL-1350                                                                         CAS 849826013500         100      100       0       0
                   ASSORTMENT


      PL-1390      ATOM 1.0 MICRO DRONE                                               EA 849826013906         1,880     1,880     0       0


      PL-1391                                                                                                   1                 1


      PL-1400      SPYDER X - Palm sized high performance drone                                               4,746     4,746     0       0


      PL-1402      SPYDER STUNT DRONE-28MC/PLT                                                                5,050     5,050     0       0


      PL-1434      CLOUD RIDER                                                                                 85        85       0       0


      PL-1445                                                                                                  32                 32


      PL-1480                                                                                                  93                 93


      PL-1483      SPYDER X                                                                                    86        86       0       0


      PL-1486      SPYDER ROOFTOP BRANDS                                                                       156      156       0       0


      PL-1511                                                                                                   1                 1


      PL-1512                                                                                                  24                 24


      PL-1521                                                                                                  46                 46


                   Propel Tilt Hybrid Stunt Drone + HD Camera+ Altitude Stability
     PL-1530*                                                                                                 2,193     1,865     328     0
                   RED

                   TILT COMPLETE SET (SPARE PART)
    PL-1530-SP                                                                        EA 849826015306          375       47       328     0


      PL-1540      SKY MASTER WHOLE SET                                               EA 849826015405          29        0        29      0


      PL-1560                                                                                                  537                537


      PL-1601                                                                                                   0        0        0       0


                   SKY RIDER FPV COMPLETE SET TITANIUM
      PL-1720                                                                         EA 849826017201          765       0        765     0


      PL-1762                                                                                                   2                 2


                                                                                      EA 849826017614
     PL-1763-R     TUNNEL PALM DRONE RED 7379565                                                                7        0        7       0
                                                                                      CAS 50849826017619




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                                                                 Rooftop Group USA
                                                                      Exhibit A
                                                                  Drone Inventory

                                                                                                        Total
      Item #                                Description                               UPC / EA / CAS              DFW      SEA     VAN
                                                                                                       Quantity

      PL-1770      MOVE (1318531)                                               EA 849826017706           2        0        2        0


      PL-1771      MOVE DRONE - GREEN                                           EA 849826017713          292       0        292      0


      PL-1772      MOVE DRONE - RED                                             EA 849826017720          301       0        301      0


      PL-4210                                                                                            140                140


     PLM-472       RC SNAKE (1128823)                                           EA 895007004720          103       0        103      0


     QC-0950       MULTI PACK MOTION CONTROL UFO BLUE AND DARK GREY             EA T34292848000         5,712     5,712     0        0


                                                                                EA 601279509517
     QC-0951       ROCKET RC LEVICOPTER RED/SILVER                                                      5,694     5,694     0        0
                                                                                CAS T34322849000


     QC-0954                                                                                             864                864


     QC-0958       AIR CRAWLER RED                                              EA 601279509586         2,134     1,056    1,078     0


                                                                                EA 601279509593
     QC-0959       ROCKET RC AIR CRAWLER SILVER                                                          565      216       349      0
                                                                                CAS T34339180000


     SC-1860                                                                                            5,810              5,810


     SC-1868                                                                                             61                 61


     SC-1869                                                                                             17                 17


     SC-2052                                                                                             97                 97


     SC-2053       One Click                                                                             143       60       83       0


                   VIDEO TALKER
      SL-1814                                                                   EA 50849826018142        49        0        49       0


      SL-1815      SL-1815 PDQ                                                                           529       0        529      0


      TK-0530      CST TANK                                                                              408      408       0        0


      TK-0534      TANKS                                                                                1,359     1,359     0        0


      TK-0543      TANKS                                                                                1,608     1,608     0        0


     VL-3500       Velocity HD Video Drone + FPV Assorted VL-3500                                       3,554      0        0      3,554


     VL-3510       ATOM Micro Drone VL-3510 8pcs (2pcs for each color)                                   16        0        0       16


     VL-3517       X01 Micro drone                                                                      28,124     0        0      28,124


      VL-3520      Micro Video Drone                                                                     78        0        0       78




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                                                                  Rooftop Group USA
                                                                       Exhibit A
                                                                   Drone Inventory

                                                                                                      Total
      Item #                                  Description                           UPC / EA / CAS              DFW        SEA      VAN
                                                                                                     Quantity

                                                                              EA 849826035410
      VL-3540      MAXIMUM X03 STUNT DRONE                                                            17,993      0       13,453    4,540
                                                                              CAS 849826035403


      VL-3570                                                                                          98                   98


      VL-3571      GALACTIC X VL-3571                                                                 1,640       0         0       1,640


      VL-3572      GALACTIC X VL-3572                                                                 3,376       0         0       3,376


      VL-3579      Galactic X 1/2 Pallet VL-3579                                                       96         0         0        96


      VL-3580      Sky Rider 2.4GHz Quadrocopter with HD Camera                                       3,028       0         0       3,028


      VL-3590      Tilt HD+Wifi Video Drone X15 VL-3590                                                60         0         0        60


      VL-3598                                                                                          44                   44


      VL-3610      Tunnel drone                                                                       19,872      0         0       19,872


      VL-3611                                                                                           5                   5


      VL-3612                                                                                           5                   5


      VL-3630      MAXIMUM MOVE DRONE RED/BLACK                               EA 849826036325         26,270      0       21,860    4,410


      VL-3631                                                                                          53                   53


      VL-3632                                                                                          89                   89


                   BATMAN
     WB-4001                                                                  EA 849826040018          272       272


                   SUPERMAN
     WB-4002                                                                  EA 84982604002           13         8         5


     WB-4003       MOTION CONTROL RC FLYING BATMAN/SUPERMAN                                           1,582     1,582                 0


                                                                              CAS 50849826040105
     WB-4010       BATWING MICRO DRONE                                                                7,831      520       7,311
                                                                              EA 849826040100


                   Grand Total                                                                       283,899    76,140    138,965   68,794




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